Case 8:19-bk-01844-RCT Doc 1 Filed 03/05/19 Page 1 of 43

 

Fill in this information to identify your case: ;‘ ; §

 

United States Bankruptcy Couit for the:

iviiDDLE DisTRiCToF Fi_oRiDA ;'r'i 55

 

Case number (ifknuwn) Chapter you are filing undei‘:_’ ’ 1`;' {'

 

 

 

- Chapter 7
|:I Chapter 11
l:l Chapter 12

[._.l Chapter 13 l:l Check if this an
f amended &ling

 

 

 

Officia| Form 101
Voluntary Petition for individuals Filing for Bankruptcy 12/17

 

 

The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together-called a joint
case-and in joint cases, these forms use you to ask for information from both debtors. For examp|e, if a form asks, “Do you own a car,” the answer
would be yes if either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor 1 and Debtor 2 to distinguish
between them. ln joint cases, one of the spouses must report information as Debtor 1 and the other as Debtor 2. The same person must be Debtor 1 in
all of the forms.

Be as complete and accurate as possib|e. |f two married people are filing together, both are equally responsible for supplying correct information. |f

more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer
every question.

mdentify Yourse|f

 

 

 

 

About Debtor 1: About Debtor 2 (Spouse Only in a Joint Case):
1. Your full name
Write the name that is on JODY g \
your government-issued First name First name m \
picture identification (for
example, your driver's p_
license or passport). Midd|e name Midd|e name
Bring your picture
identification to your LEW'S
meeting With the trustee_ Last name and Suffix (Sr., Jr., ll, |l|) Last name and Sufl"lx (Sr., Jr., ||, |||)

 

2. Al| other names you have
used in the last 8 years

include your married or
maiden names.

 

3. Only the last 4 digits of
your Social Security
number or federal xxx_xx_4612
lndividual Taxpayer
ldentification number
(|TlN)

 

Officia| Form 101 Voluntary Petition for lndividua|s Filing for Bankruptcy page 1

 

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Debt0r1 JODY P. LEW|S

 

4. Any business names and
Employer identification
Numbers (E|N) you have
used in the last 8 years

include trade names and
doing business as names

About Debtor 1:

- l have not used any business name or E|Ns.

Case number (ifknown)

 

About Debtor 2 (Spouse Oniy in a Joint Case):

El l have not used any business name or E|Ns.

 

Business name(s)

Business name(s)

 

Ele

E|NS

 

5. Where you live

8339 Ange|a Court
Zephyrhiils, FL 33541
Number, Street, City, State & ZlP Code

Pasco

 

County

if your mailing address is different from the one
above, fill it in here. Note that the court will send any
notices to you at this mailing address.

lf Debtor 2 lives at a different address:

Number, Street, City, State & ZiP Code

 

County

if Debtor 2's mailing address is different from yours, fill it
in here. Note that the court will send any notices to this
mailing address.

 

Number, P.O. Box, Street, City, State & ZiP Code

Number, P.O. Box, Street, City, State & ZiP Code

 

6. Why you are choosing
this district to file for
bankruptcy

Check one.'

- Over the last 180 days before filing this petition,
l have lived in this district longer than in any
other district.

l:l i have another reascn.
Expiain. (see 28 u.S.c. § 1408.)

 

Check one:

l:l Over the last 180 days before Hiing this petition, i
have lived in this district longer than in any other
district.

l:| l have another reason.
Expiain. (See 28 U.S.C. § 1408.)

 

 

Ofticiai Form 101

Voluntary Petition for individuals Filing for Bankruptcy

page 2

 

 

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Debtor 1 JODY P. LEW|S

Case number (ifknown)

 

-Teil the Court About Your Bankruptcy Case

 

 

 

 

 

 

 

 

 

 

 

 

7. The chapter of the Check one. (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individua/s Filing for Bankruptcy
Bankruptcy Code you are (Fonn 2010)). A|so, go to the top of page 1 and check the appropriate box.
choosing to t”i|e under
- Chapter 7
l:l Chapter 11
|:| Chapter 12
lIi chapter 13
8. How you will pay the fee \:l l will pay the entire fee when lt'ile my petition. Piease check with the clerk’s office in your local court for more details
about how you may pay. Typicaliy, if you are paying the fee yourseif, you may pay with cash, cashier’s check, or money
order. if your attorney is submitting your payment on your behaif, your attorney may pay with a credit card or check with
a pre-printed address.
i need to pay the fee in installments. if you choose this option, sign and attach the Application for lndividua/s to Pay
The Filing Fee in Installments (Officiai Form 103A).
i request that my fee be waived (You may request this option only if you are filing for Chapter 7. By law, a judge may,
but is not required to, waive your fee, and may do so only if your income is less than 150% of the ochiai poverty line that
applies to your family size and you are unable to pay the fee in installments). if you choose this option, you must fill out
the Application to Have the Chapter 7 Filing Fee Waived (Officia| Form 103B) and file it with your petition,
9. Have you filed for - No l
bankruptcy within the '
last 8 years? ij Ves.
District When Case number
District When Case number
District When Case number
10. Are any bankruptcy - No
cases pending or being
filed by a spouse who is l:l Yes.
not filing this case with
you, or by a business
paitner, or by an
affiliate?
Debtor Relationship to you
District When Case number, if known
Debtor Relationship to you
District When Case number, if known
11. Do you rent your - No_ Go to line 12.

residence?

|:| Yes_ Has your landlord obtained an eviction judgment against you?
|:| No. Go to line 12.

|:i Yes. Fili out Initial Statement About an Eviction Judgment Against You (Form 101A) and file it as part cf
this bankruptcy petition.

 

Official Form 101

Voluntary Petition for individuals Filing for Bankruptcy page 3

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Deber1 JODY P. LEWIS

Case number (irknown)

 

-Report About Any Businesses You Own as a So|e Proprietor

12.

 

Are you a sole proprietor
of any fu|l- or part-time
business?

A sole proprietorship is a
business you operate as
an individual, and is not a
separate legal entity such
as a corporation,
partnership, or LLC.

/
if you have more than one
sole proprietorship, use a
separate sheet and attach
it to this petition.

l No, Go to Part 4.

ij Yes_ Name and location of business

 

Name of business, if any

 

Number, Street, City, State & Z|P Code

Check the appropriate box to describe your business.'
Health Care Business (as defined in 11 U.S.C. § 101(27A))

Singie Asset Real Estate (as defined iri 11 U.S.C. § 101(51B))
Stockbroker (as defined in 11 U.S.C. § 101(53A))

Commodity Broker (as defined in 11 U.S.C. § 101(6))

None of the above

E||:||:l[ll:l

 

13.

Are you filing under
Chapter 11 of the
Bankruptcy Code and are
you a small business
debtor?

For a definition of small
business debtor, see 11
U.S.C. § 101(51D).

If you are filing under Chapter 11, the court must know whether you are a small business debtor so that it can set appropriate
deadlines. if you indicate that you are a small business debtor, you must attach your most recent balance sheet, statement of
operations, cash-flow statement, and federal income tax return or if any of these documents do not exist, follow the procedure
in 11 U.S.C. 1116(1)(B).

. No_ l am not filing under Chapter 11.

|:l NO_ l am iiing under Chapter 11, but l am NOT a small business debtor according to the definition in the Bankruptcy
Code.

|:| Yes_ l am filing under Chapter 11 and l am a small business debtor according to the definition in the Bankruptcy Code.

 

14.

Report if You Own or Have Any Hazardous Property or Any Property That Needs immediate Attention

 

Do you own or have any
property that poses or is
alleged to pose a threat
of imminent and
identifiable hazard to
public health or safety?
Or do you own any
property that needs
immediate attention?

For examp/e, do you own
perishable goods, or
livestock that must be fed,
or a building that needs
urgent repairs?

- No.

l:] Yes.
What is the hazard?

 

if immediate attention is
needed, why is it needed?

 

Where is the property?

 

Number, Street, City, State & Zip Code

 

Officiai Form 101

Voluntary Petition for individuals Filing for Bankruptcy page 4

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Debtor1 JODY P. LEW|S

Expiain Your Efforts to Receive a Briefing About Credit Counseling

Case number (irknown)

 

 

15. Tel| the court whether
you have received a
briefing about credit
counseling.

The law requires that you
receive a briefing about
credit counseling before
you file for bankruptcy,
Vou must truthfully check
one of the following
choices. if you cannot do
so, you are not eligible to
h|e.

if you file anyway, the court
can dismiss your case, you
will lose whatever filing fee
you paid, and your
creditors can begin
collection activities again.

About Debtor 1:
You must check one:

|:]

|:l

l received a briefing from an approved credit |'_`|
counseling agency within the 180 days before l

filed this bankruptcy petition, and l received a

certificate of completion.

Attach a copy of the certificate and the payment
plan, if any, that you developed with the agency.

l received a briefing from an approved credit ij
counseling agency within the 180 days before l

filed this bankruptcy petition, but l do not have

a certificate of completion.

V\hthin 14 days after you file this bankruptcy
petition, you MUST file a copy of the certificate and
payment plan, if any.

l certify that l asked for credit counseling |_”_l
services from an approved agency, but was

unable to obtain those services during the 7

days after l made my request, and exigent
circumstances merit a 30-day temporary waiver

of the requirement.

To ask for a 30-day temporary waiver of the
requirement attach a separate sheet explaining
what efforts you made to obtain the briefing, why
you were unable to obtain it before you filed for
bankruptcy, and what exigent circumstances
required you to file this case.

Your case may be dismissed if the court is
dissatisfied with your reasons for not receiving a
briehng before you filed for bankruptcy.

if the court is satisfied with your reasons, you must
still receive a briefing within 30 days after you file.
You must file a certificate from the approved
agency, along with a copy of the payment plan you
developed, if any. if you do not do so, your case
may be dismissed

Any extension of the 150-day deadline is granted

only for cause and is limited to a maximum of 15

days.

l am not required to receive a briefing about |:I
credit counseling because of:

[:l incapacity.
l have a mental illness or a mental deficiency
that makes me incapable of realizing or
making rational decisions about finances

[:l Disability.
My physical disability causes me to be
unable to participate in a briefing in person,
by phone, or through the internet, even after l
reasonably tried to do so.

l:| Active duty.
| am currently on active military duty in a
military combat zone.

if you believe you are not required to receive a
briefing about credit counseling, you must file a
motion for waiver credit counseling with the court.

About Debtor 2 (Spouse Only in a Joint Case):
You must check one:

l received a briefing from an approved credit
counseling agency within the 180 days before l filed
this bankruptcy petition, and l received a certificate of
completion.

Attach a copy of the certificate and the payment plan, if
any, that you developed with the agency.

l received a briefing from an approved credit
counseling agency within the 180 days before l filed
this bankruptcy petition, but l do not have a certificate
of completion.

V\hthin 14 days after you file this bankruptcy petition, you
MUST hle a copy of the certificate and payment plan, if
any.

l certify that l asked for credit counseling services
from an approved agency, but was unable to obtain
those services during the 7 days after l made my
request, and exigent circumstances merit a 30-day
temporary waiver of the requirement.

To ask for a 30-day temporary waiver of the requirement,
attach a separate sheet explaining what efforts you made
to obtain the briefing1 why you were unable to obtain it
before you filed for bankruptcy, and what exigent
circumstances required you to file this case.

Your case may be dismissed if the court is dissatisfied
with your reasons for not receiving a briefing before you
hled for bankruptcy.

if the court is satisfied with your reasons, you must still
receive a briefing within 30 days after you file. You must
file a certihcate from the approved agency, along with a
copy of the payment plan you developed, if any. if you do
not do so, your case may be dismissed.

Any extension cf the 30-day deadline is granted only for
cause and is limited to a maximum of 15 days_

l am not required to receive a briefing about credit
counseling because of:

|:| incapacity.
l have a mental illness or a mental deficiency that
makes me incapable of realizing or making rational
decisions about finances.

l'_J Disability.
My physical disability causes me to be unable to
participate in a briefing in person, by phone, or
through the internet, even after l reasonably tried to
do so.

ij Active duty.
l am currently on active military duty in a military
combat zone.

lf you believe you are not required to receive a briefing
about credit counseling. you must file a motion for waiver
of credit counseling with the court.

 

Officiai Form 101

Voluntary Petition for individuals Filing for Bankruptcy

 

page 5

 

 

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Debtor 1 JODY P. LEW|S

Case number {irknown)

 

 

Answer These Questions for Reporting Purposes

16. What kind of debts do
you have?

16a. Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8) as “lncurred by an
individual primarily for a personai, family, or household purpose."

l.'_l No. co to line ieb.

- Yes. Go to line 17.

16b. Are your debts primarily business debts? Business debts are debts that you incurred to obtain
money for a business or investment or through the operation of the business or investment

|:l No. Go to line 16c.

|:l Yes. Go to line 17.
160. State the type of debts you owe that are not consumer debts or business debts

 

 

17. Are you filing under
Chapter 7?

Do you estimate that
after any exempt
property is excluded and

jj No_ l am not filing under Chapter 7. Go to line 18.

- Yes l am filing under Chapter 7. Do you estimate that after any exempt property is excluded and administrative expenses
` are paid that funds will be available to distribute to unsecured creditors?

 

 

administrative expenses - No
are paid that funds will
be available for l:] Yes
distribution to unsecured
creditors?
18- H¢>w many Credit<>rs do l 149 El 1,000-5,000 lIl 25,001-50,000
§:,‘;§St"“ate thaty°“ g 50_99 El 5001-10,000 lIl 50,001-100,000
' ij 100_199 lIi 10,001-25,000 El More tnamoo,ooo
iIl 200-999
19- H°w much do you Ei $0 - $50,000 El $1,000,001 - $10 million lIl $500,000,001 - $1 billion

estimate your assets to
be worth?

El $50,001 - $100,000
l $100,001 - $500,000
Ei $500,001 - $1 million

ij $10,000,001 - $50 million
El $50,000,001 - $100 million
iii $100,000,001 - $500 million

l_`.l $1,000,000,001 - $10 billion
lIl $10,000,000,001 - $50 billion
l:l More than $50 billion

 

20. How much do you
estimate your liabilities
to be?

iii $0 - $50,000

El $50,001-$100,000
l $100,001 - $500,000
El $500,001 - $1 million

l:i $1,000,001 - $10 million

i'_'i $10,000,001 - $50 million
l'_'l $50,000,001 - $100 million
l'_'i $100,000,001 - $500 million

El $500,000,001 - $1 billion

|:l $1,000,000,001 - $10 billion
iii $10,000,000,001 - $50 billion
lIi iviore than $50 billion

 

 

Sign Below

For you

l have examined this petition, and l declare under penalty of perjury that the information provided is true and correct

if l have chosen to file under Chapter 7, l am aware that l may prcceed, if eiigible, under Chapter 7, 11,12, or 13 of title 11,
United States Code. l understand the relief available under each chapter, and l choose to proceed under Chapter 7.

lf no attorney represents me and l did not pay or agree to pay someone who is not an attorneth help me fill out this
document, l have obtained and read the notice required by 11 U.S.C. § 342(b).

l request relief in accordance with the chapter of title 11, United States Code, specified in this petition,

i understand making a false statement concealing property, or obtaining money or property by fraud in connection with a
bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519,
and 3571. ,¢-

-~ a 7 ,//M

JODY P( LEwl’s
Signature of Debtor 1

Signature of Debtor 2

Executed on Mar¢;h 2, 2019 Executed on

MM/DD/YYYY

 

 

MM/DD/YYY¥

 

Officiai Form 101

Voluntary Petition for individuals Filing for Bankruptcy page 6

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Debtor 1 J()DY P_ LEW|S Case number (ifknown)
For your attorney, if you are l, the attorney for the debtor(s) named in this petition, declare that l have informed the debtor(s) about eligibility to proceed
represented by one under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the relief available under each chapter

for which the person is eligibie. l also certify that l have delivered to the debtor(s) the notice required by 11 U.S.C_ § 342(b)
if you are not represented by and, in a case in which § 707(b)(4)(D) applies, certify that l have no knowledge after an inquiry that the information in the
an attorney, you do not need schedules filed with the petition is incorrect
to file this page.

Date March 2, 2019

Signature of Attorney for Debtor MM / DD / YYYY

 

 

Printed name

 

Flrm name

 

Number, Street, City, State & ZiP Code

Contact phone Email address

 

 

 

Bar number & State

 

Officiai Form 101 Voluntary Petition for individuals Filing for Bankruptcy page 7

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Debtor 1 JODY P_ LEW|S Case number (irknown)

 

 

 

For you if you are filing this The law allows you, as an individual, to represent yourself in bankruptcy court, but you should understand that many
bankruptcy without an people find it extremely difficult to represent themselves successfully. Because bankruptcy has long-term
attorney financial and legal consequences, you are strongly urged to hire a qualified attomey.

lf you are represented by an To be successfui, you must correctly file and handle your bankruptcy case. The rules are very technical, and a mistake or

attorney, you do not need to inaction may affect your rights. For example, your case may be dismissed because you did not hle a required document,

file this page. pay a fee on time, attend a meeting or hearing, or cooperate with the court, case trustee, U.S. trustee, bankruptcy
administrator, or audit hrm if your case is selected for audit. if that happens, you could lose your right to h|e another case,
or you may lose protections, including the benefit of the automatic stay.

You must list all your property and debts in the schedules that you are required tc file with the court. Even if you plan to pay
a particular debt outside of your bankruptcy, you must list that debt in your schedules. if you do not list a debt, the debt may
not be discharged if you do not list property or properly claim it as exempt, you may not be able to keep the property. The
judge can also deny you a discharge of all your debts if you do something dishonest in your bankruptcy case, such as
destroying or hiding property, falsifying records, or lying. individual bankruptcy cases are randomly audited to determine if
debtors have been accurate, truthful, and compiete. Bankruptcy fraud is a serious crime; you could be fined and
imprisoned.

if you decide to hle without an attorney, the court expects you to follow the rules as if you had hired an attomey. The court
will not treat you differently because you are filing for yourself To be successful, you must be familiar with the United
States Bankruptcy Code, the Federai Ruies of Bankruptcy Procedure, and the local rules of the court in which your case is
filed. You must also be familiar with any state exemption laws that apply_

Are you aware that filing for bankruptcy is a serious action with long-term financial and legal consequences?
l:l No
- Yes

Are you aware that bankruptcy fraud is a serious crime and that if your bankruptcy forms are inaccurate or incomplete, you
could be hned or imprisoned?

l:l No
- Yes

Did you pay or agree to pay someone who is not an attorney to help you fill out your bankruptcy forms?
l:l No
l Yes Name of Person Carlos Frontela
Attach Bankruptcy Petition Preparer’s Notice, Declaration, and Signature (Official Form 119).

 

By signing here, l acknowledge that l understand the risks involved in filing without an attomey. l have read and understood
this notice, and l am aware that filing a bankruptcy case without an attorney may cause me to lose my rights or property if| do
not properly h le e ca .

 

 

 

 

 

 

 

t /M`
JODY _ LEW| Signature of Debtor 2
Signature of Debtor 1
Date March 2, 2019 Dale

MlVl/DD/YYYY MM/DD/YYYY

Contact phone Contact phone
Celi phone 813-312-3925 Celi phone
Email address Email address

 

 

 

thcial Form 101 Voluntary Petition for individuals Filing for Bankruptcy page 8

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Fill in this information to identify your case:
Debtor 1 JODY P. LEW|S
l=irst Name Mlddie Name Last Name

Debtor 2
(Spouse if, filing) First Name Mlddie Name Last Name

 

United States Bankruptcy Court for the: MiDDLE DiSTRlCT OF FLORlDA

 

Case number
iii known) jj Check if this is an

amended filing

 

 

 

Officiai Form 1068um

Summary of Your Assets and Liabilities and Certain Statistical information 12/15

Be as complete and accurate as possible. if two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. if you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.

 

Summarize Your Assets

`_Yo`urasset_s l ,
Value of what you own

1. Schedule AIB: Property (Official Form 106A/B)

1a. Copy line 55, Total real estate, from Schedule A/B ................................................................................................ $ 106’°°0~00
1b. Copy line 62, Total personal property, from Schedule A/B ..................................................................................... $ 3 480_00
1c. Copy line 63, Total of all property on Schedule A/B ............................................................................................... $ 109,430_00

Summarize Your Liabilities

Yo'ur liabilities
Amount you owe

2. Schedule D: Creditors Who Have C/aims Secured by Property (Official Form 106D)

2a. Copy the total you listed in Column A, Amount cfclaim, at the bottom of the last page of Part 1 of Schedule D... $ 106»792'67
3. Schedule E/F: Creditors Who Have Unsecured C/aims (Official Form 106E/F)

3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F ................................. $ 0-00

3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F ............................ $ 28,581 _81

 

Your total liabilities $ 1 35,374.48

 

 

 

m$ummarize Your income and Expenses

4. Schedule l: Yourlncome (Official Form 106|)

Copy your combined monthly income from line 12 of Schedule l ................................................................................ $ 21198~21

5. Schedule J: Your Expenses (Official Form 106J)

Copy your monthly expenses from line 220 of Schedule J .......................................................................... $ 21157-61

Answer These Questions for Administrative and Statistical Records

6. Are you filing for bankruptcy under Chapters 7, 11, or 13?
|:] No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.

l Yes
7. What kind of debt do you have?

- Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal, family, or
household purpose." 11 U.S.C. § 101(8). Fill outlines 8-99 for statistical purposes. 28 U.S.C. § 159.

|j Your debts are not primarily consumer debts. You have nothing to report on this part of the forrn. Check this box and submit this form to
the court with your other schedules.

Officiai Form 1068um Summary of Your Assets and Liabilities and Certain Statistical information page 1 of 2

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Debtcr1 JQDY P_ LEW|S Case number (ifknown)

 

8. From the Statement of Your Current Monthly Income: Copy your total current monthly income from Officiai Form

 

 

 

 

 

 

 

 

122A-1 Line 11; oR, Form 1223 Line 11; oR, Form 1220-1 Line 14. 2498-21
9. Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:
l , , Towl<=laim "
From Part 4 on Schedule»,HF, copy the folloiwfng':`
9a. Domestic support obligations (Copy line 63.) $ 0.00
9b. Taxes and certain other debts you owe the government. (Copy line 6b.) $ 0_00
90. Claims for death or personal injury while you were intoxicated (Copy line 6c.) $ 0_00
9d. Student loans. (Copy line 6f_) $ 13,707.38
9e. Obligations arising out of a separation agreement or divorce that you did not report as
priority claims. (Copy line 69.) $ o'oo
9f. Debts to pension or profit-sharing pians, and other similar debts. (Copy line 6h.) +$ 0_00
99. Total. Add lines 9a through 9f. 13,707.38
thciai Form 1068um Summary of Your Assets and Liabilities and Certain Statistical information page 2 of 2

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Best Case Bankruptcy

Case 8:19-bk-01844-RCT Doc 1 Filed 03/05/19 Page 11 of 43

Fill in this information to identify your case and this filing:
Debtor 1 JODY P. LEWIS
First Name Mlddie Name Last Name

Debtor 2
(Spouse, if filing) First Name Mlddie Name Last Name

 

United States Bankruptcy Court for the: MlDDLE DiSTRlCT OF FLORlDA

 

Case number l:i Check if this is an
amended filing

 

 

Officiai Form 106A/B
Schedule AlB: Property 12/15

in each category, separately list and describe items. List an asset only once. if an asset fits in more than one category, list the asset in the category where you
think it fits best. Be as complete and accurate as possible. if two married people are filing together, both are equally responsible for supplying correct
information. if more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known).
Answer every question.

 

 

Describe Each Residence, Bui|ding, Land, or Other Real Estate You Own or Have an interest in
1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

i:i No. Go to Part 2.
. Yes. Where is the property?

 

 

 

 

 

1.1 What is the property? check ali that apply
8339 Angela Court m Singie-family home Do not deduct secured claims or exemptions. Put
street address if available or other description ._ . . . the amount of any secured claims on Schedule D:
m Dup'ex or mu|t' un't bu'|d'ng Creditors Who Have Claims Secured by Propeity.
m Condominium or cooperative
|'_`| Manufactured or mobile home
Current value of the Current value of the
Tampa FL 33625-0000 [:| Land entire property? portion you own?
Cily State ZiP Code n investment property $106,000.00 $106,000.00
T' h r
m 'mes a e Describe the nature of your ownership interest
m Other ____ (such as fee simple, tenancy by the entireties, or
Who has an interest in the property? check one a |'fe estate)~ 'f known-
- Debtor 1 only
Hi|lsborough |:l Debtor 2 only
C°u"tY m Debtor1 and Debtor 2 only

Check if this is community property
n Al least one of the debtors and another (see instructions)

Other information you wish to add about this item, such as local
property identification number:

 

 

2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for
pages you have attached for Part 1. Write that number here => $106’000'00

Describe Your Vehic|es

Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? include any vehicles you own that
someone else drives. if you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.

 

 

 

 

thcial Form 106A/B Schedule A/B: Property page 1
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Debtor1 JODY P_ LEW|S Case number (ifknown)

3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

 

 

 

 

 

 

 

i] No
- Yes
. . . Do not deduct secured claims or exemptions Put
')
3.1 Make. Chevy Who has an interest in the property. Check one the amount of any Secured claims on Schedule D:
Modei; Cruze - Debtor 1 amy Creditors Who Have Claims Secured by Property.
Yea': 2017________ m Debtor 2 only Current value of the Current value of the
Approximate mileage: [_'_| Debtor 1 and Debtor 2 only entire property? portion you own?
Other information lIl At least one ortho debtors and another
Location: 8339 Ange|a Court,
Zephyrhills FL 33541 m Check if this is community property $0-00 $0.00
(see instructions)
Vehicle is a leased vehicle.
Amount owed is the remaining
balance on the lease
4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
Examples.' Boats, trailers, motors, personal watercraft, fishing vesseis, snowmobiles, motorcycle accessories
l No
l:i Yes
5 Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for
.pages you have attached for Part 2. Write that number here => $0-00

 

 

 

 

Describe Your Persona| and Household items
Do you own or have any legal or equitable interest in any of the following items? Current value of the
portion you own?
Do not deduct secured
claims or exemptions
6. Household goods and furnishings
Examples.' Major appliances, furniture, linens, china, kitchenware

|:i No
- Yes. Describe .....

 

Bedroom set, couch and 60"TV
Location: 8339 Angela Court, Zephyrhil|s FL 33541 $500.00

 

 

 

 

7. E|ectronics
Examples.' Televisions and radios; audic, video, stereo, and digital equipment; computers, printers, scanners; music collections; electronic devices
including cell phones, cameras, media players, games

l No
l:i Yes. Describe .....

8. Collectibles of value
Examples.' Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects; stamp, coin, or baseball card collections;

other collections, memorabilia, collectibles
l No
i:i Yes. Describe .....

9. Equipment for sports and hobbies
Examples.' Spcrts, photographic exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes and kayaks; carpentry tools;

musical instruments
- No
l:i Yes. Describe .....

10. Firearms
Examples.' Pistols, rifles, shotguns, ammuniticn, and related equipment

[] No
Officiai Form 106A/B Schedule A/B: Property page 2
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Debtor1 JODY P. LEWlS Case number (ifknown)

- Yes. Describe .....

 

Location: 8339 Ange|a Court, Zephyrhi|ls FL 33541

 

 

 

 

 

.38 Revo|ver $250.00
11. C|othes
Examples.' Everyday clothes, furs, leather coats, designer wear, shoes, accessories
l:l No
- Yes. Describe .....
Everyday clothes
Location: 8339 Angela Court, Zephyrhil|s FL 33541 $80.00

 

 

 

 

12. Jewelry
Examples.' Everyday jewelry, costume iewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems, gold, silver

- No
l:l Yes. Describe .....

13. Non-farm animals
Examples.' Dogs, cats, birds, horses

- No
l:l Yes. Describe .....

14. Any other personal and household items you did not already |ist, including any health aids you did not list
- No
l:l Yes. Give specific information .....

 

15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached
for Part 3. write that number here $830.00

 

 

 

 

Describe Your Financia| Assets

Do you own or have any legal or equitable interest in any of the following? Current value of the
portion you own?
Do not deduct secured
claims or exemptions

 

16. Cash
Examples.' Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition

l No
l:l Yes ................................................................................................................

17. Deposits of money
Examples.' Checking, savings, or other Hnancial accounts; certificates of deposit; shares in credit unions, brokerage houses, and other similar
institutions. lf you have multiple accounts with the same institution, list each.

l:l No
- YeS ........................ lnstitution name:
PNC Bank
Checking and Location: 8339 Ange|a Court, Zephyrhi|ls FL
17.1. savings account 33541 $150.00

 

 

18. Bonds, mutual funds, or publicly traded stocks
Examples.' Bond funds, investment accounts with brokerage flrms, money market accounts

- No
l:] Yes __________________ |nstitution or issuer name;

19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in an LLC, partnership, and
joint venture

l No

|:l Yes. Give specific information about them ...................
Official Form 106A/B Schedule A/B: Property page 3
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Debtor1 JODY P. LEWlS Case number (ifknown)

 

Name of entity: % of ownership:

20. Government and corporate bonds and other negotiable and non-negotiable instruments
Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.

-No

l:i Yes. Give specific information about them
issuer name:

21 . Retirement or pension accounts
Examples.' interests in lRA, ERlSA, Keogh, 401 (k), 403(b), thrift savings accounts, or other pension or proht~sharing plans
l:l No

l Yes. List each account separately.
Type of account: institution name:

Pasco County Pension Location: 8339 Ange|a Court, Zephyrhills FL
33541 $2,500.00

 

22. Security deposits and prepayments
Your share of all unused deposits you have made so that you may continue service or use from a company
Examples.' Agreements with iandiords, prepaid rent, public utilities (eiectric, gas, water), telecommunications companies, or others

- No
|:] Yes_ _____________________ institution name or individuai:

23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
l No

l:l Yes _____________ issuer name and description

24. interests in an education lRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1),

- No
[:| Yes _____________ institution name and description. Separately file the records of any interests.tf U.S.C. § 521(c):

25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers exercisable for your benefit
l No

l:l Yes. Give specific information about them...

26. Patents, copyrights, trademarks, trade secrets and other intellectual property
Examples.' internet domain names, websites, proceeds from royalties and licensing agreements

- No
l:] Yes. Give specific information about them...

27. Licenses, franchises, and other general intangibles
Examples.' Buiiding permits, exclusive iicenses, cooperative association holdings, liquor iicenses, professional licenses

-No

L__l Yes. Give specific information about them...

Money or property owed to you? Current value of the
portion you own?
Do not deduct secured
claims or exemptions

28. Tax refunds owed to you

-No

|:i Yes. Give specific information about them, including whether you already filed the returns and the tax years .......

29. Family support
Examples.' Past due or lump sum aiimony, spousal support, child support, maintenance, divorce settlement property settlement
- No

m Yes. Give specific information ......

Officiai Form 106A/B Schedule A/B: Property page 4
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Debtor1 JODY P. LEWlS Case number (ifknown)

 

30. Other amounts someone owes you
Examples.' Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, Workers’ compensation, Social Security
benefits; unpaid loans you made to someone else

- No
l:l Yes. Give specific information..

31. interests in insurance policies
Examples.' Health, disability, or life insurance; health savings account (HSA); credit, homeowner’s, or renter’s insurance

-No

l:i Yes. Name the insurance company of each policy and list its value.
Company name: Beneficiary: Surrender or refund
value:

32. Any interest in property that is due you from someone who has died
if you are the beneHciary of a living trust, expect proceeds from a life insurance poiicy, or are currently entitled to receive property because
someone has died,

l No
i:l Yes. Give specific information..

33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
Examples: Accidents, employment disputes, insurance ciaims, or rights to sue

- No
l:l Yes. Describe each claim .........

34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights to set off claims
- No
i:i Yes. Describe each claim .........

35. Any financial assets you did not already list
- No
l:l Yes. Give specific information..

 

36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
for Part 4. Write that number here $2,650.00

 

 

 

Describe Any Business-Related Property You Own or Have an interest in. List any real estate in Part 1.

 

37. Do you own or have any legal or equitable interest in any business-related property?
l No. Go to Part 6.

l:l Yes. Go to line 38.

Describe Any Farm- and Commercia| Fishing-Reiated Property You Own or Have an interest in.
if you own or have an interest in farmiand, list it in Part 1.

 

46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
l No. eo re Part 7.
m Yes Go to line 47.

Describe Ail Property You Own or Have an interest in That You Did Not List Above

 

53. Do you have other property of any kind you did not already list?
Examples.' Season tickets, country club membership

- No
i'.:l Yes. Give specific information .........

 

 

 

 

54. Add the dollar value of ali of your entries from Part 7. Write that number here .................................... $0_00
Officiai Form 106A/B Schedule A/B: Property page 5

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Debtgr 1 JODY p_ LEWlS Case number (ifknown)
List the Totais or Each Part orrhis i=erm
55. Part 1: Total real estate, line 2 $106,000.00
56. Part 2: Total vehicles, line 5 $0.00
57. Part 3: Total personal and household items, line 15 $830_00
58. Part 4: Total financial assets, line 36 $2,650.00
59. Part 5: Total business-related property, line 45 $0.00
60. Part 6: Total farm- and fishing-related property, line 52 $0.00
61. Part 7: Total other property not listed, line 54 + $0.00
62. Total personal property. Add lines 56 through 61 $3,480_00 Copy personal property total $3 480_00
63. Total of all property on Schedule A/B. Add line 55 + line 62 $109,480.00
Officiai Form 106A/B Schedule A/B: Property page 6

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Fill in this information to identify your case:

Debtor 1 JODY P. LEWlS

First Name Mlddie Name Last Name

Debtor 2
(Spouse if, fillng) First Name Mlddie Name Last Name

 

United States Bankruptcy Court for the: MlDDLE DiSTRlCT OF FLORlDA

 

 

Case number
(if knewn) [] Check if this is an
amended filing

 

 

Officiai Form 1060
Schedule C: The Property You Claim as Exempt 4116

 

 

Be as complete and accurate as possible. if two married people are filing together, both are equally responsible for supplying correct information. Using
the property you listed on Schedule A/B: Property (thcial Form 106A/B) as your source, list the property that you claim as exempt if more space is
needed, ill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write your name and
case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount of
any applicable statutory limit. Some exemptions-such as those for health aids, rights to receive certain benefits, and tax-exempt retirement
funds-may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that limits the
exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption would be limited
to the applicable statutory amount.

identify the Property You Claim as Exempt
1. Which set of exemptions are you claiming? Check one only, even if your spouse is H/ing With you.
- You are claiming state and federal nonbankruptcy exemptions 11 U.S.C. § 522(b)(3)
l:l You are claiming federal exemptions 11 U.S.C. § 522(b)(2)

2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.

 

Brief description of the property and line on Current value of the Amount of the exemption you claim Specific laws that allow exemption
Schedule A/B that lists this property portion you own

Copy the value from Check only one box for each exemption

Schedule A/B
8339 Angela Court Tampa, FL 33625 106 ooo_oo $105 000_00 Fia. Const. art. X, § 4(a)(1);
Hi|lsborough County _$~’_ - ____-'h Fia. Stat. Ann. §§ 222.01 &
Line from Schedule A/B: 1.1 m 100% of fair market value, up to 222.02

any applicable statutory limit

2017 Chevy Cruze o 00 $o_oo Fia. Stat. Ann. § 222.25(1)
Location: 8339 Angela Court, _`$- - ____-
Zephyrhills FL 33541 m 100% of fair market value, up to

any applicable statutory limit
Vehicle is a leased vehicle. Amount
owed is the remaining balance on the
lease
Line from Schedule A/B: 3.1

 

 

Bedroom set, couch and 60"TV $500 00 - $500_00 Fia. Const. art. X, § 4(a)(2)
Location: 8339 Angela Court, _-_'- _-_-_-

zephyrhiiis FL 33541 E| 100% erreh market value up re

Line from Schedule A/B: 6.1 any applicable statutory limit

Location: 8339 Angela Court, $250_00 - $250_00 Fia. Const. art. X, § 4(a)(2)

Zephyrhi|ls FL 33541

m 100% of fair market value, up to
.38 Revo|ver any applicable statutory limit
Line from Schedule A/B: 10.1

 

Officiai Form 1060 Schedule C: The Property You Claim as Exempt page 1 of 2
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Debtor1 JODY P. LEWlS

Case number (if known)

 

Schedule A/B that lists this property

Everyday clothes

Brief description of the property and line on Current value of the a Amount of the exemption you claim
portion you own
Copy the value from Check only one box for each exemption
Schedule A/B
$80.00 l $250.00

Location: 8339 Angela Court,
Zephyrhil|s FL 33541
Line from Schedule A/B: 11.1

 

n 100% of fair market value, up to
any applicable statutory limit

 

Specific laws that allow exemption

Fia. Const. art. X, § 4(a)(2)

 

Checking and savings account: PNC $150_00 l $0_00

Bank

Location: 8339 Angela Court,
Zephyrhil|s FL 33541

Line from Schedule A/B: 17.1

 

m 100% of fair market value, up to
any applicable statutory limit

Fia. Const. art. X, § 4(a)(2)

 

Pasco County Pension: Location:
8339 Angela Court, Zephyrhiiis FL

33541
Line from Schedule A/B: 21 .1

$2,500.00 l $2,500.00

 

m 100% of fair market value, up to
any applicable statutory limit

Fia. stat Ann. § 222.21(1)

 

3. Are you claiming a homestead exemption of more than $160,375?
(Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment.)

l:i Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?

- No
l:l No
i:i Yes

Officiai Form 1060

Schedule C: The Property You Claim as Exempt

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page 2 of 2

Best Case Bankruptcy

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Fill in this information to identify your case:

Debtor 1

First Name

Debtor 2

JODY P. LEWlS

Middle Name Last Name

 

(Spouse if, filing) First Name

United States Bankruptcy Court for the:

Case number

Mlddie Name Last Name

MlDDLE DiSTRlCT OF FLORlDA

 

 

(if known)

 

|:| Check if this is an

 

Officiai Form 106D

Schedule D: Creditors Who Have Claims Secured by Property

amended filing

12/15

 

Be as complete and accurate as possible. if two married people are filing together, both are equally responsible for supplying correct information. if more space
is needed, copy the Additionai Page, fill it out, number the entries, and attach it to this form. On the top of any additional pages, write your name and case

number (if known).

1. Do any creditors have claims secured by your property?

l:l No. Check this box and submit this form to the court with your other schedules You have nothing else to report on this form.

- Yes. Fill in ali of the information below.

List A|i Secured Claims

 

 

 

 

 

 

 

 

 

 

. . . . _ _ Column A Column B Column C
2. List ali secured claims if a creditor has more than one secured ciaim, list the creditor separately
for each ciaim. if more than one creditor has a particular ciaim, list the other creditors in Part 2, As Amount of claim Value of collateral Unsecured
much as possible list the claims in alphabetical order according to the creditor`s name. Do not deduct the that supports this portion
value of collateral. claim if any
2_1 First Federa| Bank Describe the property that secures the claim: $99,000.00 $106,000.00 $0.00
Cled"°‘“$ Name 8339 Angela Court Tampa, FL 33625
Hi|lsborough County
f h , l ' ` :
P_O_ B°x 8068 ;tpsp|t; t e date you file the c aim is check ali that
Virginia Beach, VA 23450 |:| Com;ngem
Number, Street, City, State & Zip Code n Un|iquidated
ij Disputed
Who owes the debt? Check one. Nature of lien. Check all that apply.
- Debtor 1 only - An agreementyou made (such as mortgage or secured
m Debtor 2 only ear l°an)
m Debtor1 and Debtor2 only l:l Statutory lien (such as tax lien, mechanic's lien)
m At least one of the debtors and another i:l Judgment lien from a lawsuit
m Check if this claim relates to a l:l Other (inciuding a right to offset)
community debt
Date debt was incurred Last 4 digits of account number
2.2 GM Financiai Describe the Property that Secures the ciaim= $6,634.00 $0.00 $6,634.00
Creditor's Name 2017 Chevy Cruze
Location: 8339 Angela Court,
Zephyrhiils FL 33541
Vehicle is a leased vehicle. Amount
owed is the remaining balance on
the lease
Asofth dte o f'l,thecla’ `: k ll
PO Box 78143 apply e a y u l 9 lm lS Chec a that
Phoenix, Az 85062-8143 g Commgem
Number, Street, City, State & Zip Code m Un|iquidated
l:i Disputed
Who owes the debt? Check one. Nature of |ien. Check all that apply.
- Debtor 1 only - An agreement you made (such as mortgage or secured
l:l Debtor 2 only car '°a")
l:l Debtor1 and Debtor 2 only l:l Statutory lien (such as tax lien, mechanic's lien)
l:l At least one of the debtors and another m Judgment lien from a lawsuit
thciai Form 106D Schedule D: Creditors Who Have Claims Secured by Property page 1 of 2

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Best Case Bankruptcy

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Debtor1 JODY P_ LEW|S Case number ('rrl<newn)
First Name Mlddie Name Last Name
L_.l Check if this claim relates to a l:l Other (including a right to offset)

community debt

Date debt was incurred

 

Last 4 digits of account number

 

2.3 Greensky

Describe the property that secures the claim: $1,158_67

$1,000.00

$158.67

 

Creditor's Name

P.O. Box 29429

Loan to repair water main

 

 

 

As of the date you file, the claim is: check all that

apply.
Atlanta, GA 30359 m Contingem
Number, Street, City, State & Zip Code m Unliquidated
i.__l Disputed
Who owes the debt? Check one. Nature of iien. Check ali that appiy.

- Debtor1 only

- An agreement you made (such as mortgage or secured

i:l Debtor 2 only °a' '°a")

l:l Debtor1 and Debtor 2 only l:l Statutory lien (such as tax lien, mechanic's lien)
m At least one of the debtors and another i:i Judgment lien from a lawsuit

m Check if this claim relates to a l:\ Other (including a right to offset)

community debt

Date debt was incurred

 

Last 4 digits of account number

 

 

Add the dollar value of your entries in Column A on this page. Write that number here: $106,792_67

lf this is the last page of your form, add the dollar value totals from all pages.

Write that number here:

 

$106,792.67

 

 

 

List others te Be Netlried for a Debt That Yeu Already l_ieted

Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed in Part 1. For example, if a collection agency is
trying to collect from you for a debt you owe to someone else, list the creditor in Part 1, and then list the collection agency here. Similarly, if you have more
than one creditor for any of the debts that you listed in Part 1, list the additional creditors here. if you do not have additional persons to be notified for any

debts in Part1, do not fill out or submit this page.

Officiai Form 106D

Additionai Page of Schedule D: Creditors Who Have Claims Secured by Property

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page 2 of 2

Best Case Bankruptcy

 

 

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Fill in this information to identify your case:

JODY P. LEWlS

First Name

Debtor 1

Middle Name Last Name

Debtor 2
(Spouse if, filing)

 

First Name Mlddie Name Last Name

MlDDLE DlSTR|CT OF FLORlDA

United States Bankruptcy Court for the:

 

 

Case number
(if known)

 

|] Check if this is an
amended filing

 

Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims 12l15

Be as complete and accurate as possible. Use Part 1 for creditors with PR|OR|TV claims and Part 2 for creditors with NONPR|ORlTY claims. List the other party to
any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule AlB: Property (Official Form 106AlB) and on
Schedule G: Executory Contracts and Unexpired Leases (Official Form 1066). Do not include any creditors with partially secured claims that are listed in
Schedule D: Creditors Who Have Claims Secured by Property. |f more space is needed, copy the Part you need, t”lll it out, number the entries in the boxes on the
left. Attach the Continuation Page to this page. lf you have no information to report in a Part, do not file that Part. On the top of any additional pages, write your
name and case number (if known).

List All of Your PRloRlTY unsecured claims
1. Do any creditors have priority unsecured claims against you?
- Nov Go to Part 2.

m Yes.
must All cf vcur NoNPRloRlTY unsecured claims

3. Do any creditors have nonpriority unsecured claims against you?

m No. You have nothing to report in this part Submit this form to the court with your other schedules
- Yes.

4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. lf a creditor has more than one nonpriority
unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already included in Part 1. lf more
than one creditor holds a particular claim, list the other creditors in Part 3tlf you have more than three nonpriority unsecured claims fill out the Continuation Page of
Part 2.

Total claim

Last 4 digits of account number

A||tran Financiai

Nonpriority Creditor's Name
P.O. Box 610

Sauk Rapids, MN 56379
Number Street City State Z|p Code

Who incurred the debt? Check one.

 

- Debtor1 only

m Debtor 2 only

n Debtor1 and Debtor 2 only

m At least one of the debtors and another

l:l Check if this claim is for a community
debt

ls the claim subject to offset?

. No
l:l Yes

$12,162.57

When was the debt incurred?

 

As of the date you file, the claim is: Check all that apply

l:] Contingent
El unliquidated

|:| Disputed
Type of NONPR|ORlTY unsecured claim:

m Student loans

n Ob|igations arising out of a separation agreement or divorce that you did not
report as priority claims

|:\ Debts to pension or profit-sharing plans, and other similar debts

l Other specify Collection Account

 

 

Offlcial Form 106 E/F
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Schedule EIF: Creditors Who Have Unsecured Claims

Page 1 of 3

39450 Best Case Bankruptcy

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Debtor1 JoDY P. LEwls

Case number (ifknown)

 

 

 

 

 

 

 

 

4,2 Capita| One Bank Last 4 digits of account number $2,711,86
Nonpriority Creditor's Name
P_o_ Box 30281 When was the debt incurred?
Sa|t Lake City, UT 84130
Number Street City State Z|p Code As of the date you ti|e, the claim is: Check all that apply
Who incurred the debt? Check one.
. Debtor1 only l:l Contingent
E| Debtor 2 only El unliquidated
n Debtor1 and Debtor 2 only l:l Disputed
m At least one of the debtors and another Type °f NONPR'oR'TY unsecured claim:
l:l Check if this claim is for a community L_°l Student loans
debt g Obligations arising out of a separation agreement or divorce that you did not
ls the claim subject to offset? report as priority claims
- No m Debts to pension or profit-sharing plans, and other similar debts
E| Yes l Oth@rt Specify Credit card purchases
4-3 US Department of Education Lan 4 digits of account number $13,707.38

Nonpriority Creditor's Name
P.O. BOx 7859
Madison, Wl 53704

 

Number Street City State le Code
Who incurred the debt? Check one.

- Debtor1 only

l:l Debtor 2 only

l:l Debtor1 and Debtor 2 only

m At least one of the debtors and another

m Check if this claim is for a community
debt

ls the claim subject to offset?

- No
l:l Yes

When was the debt incurred?

 

As of the date you file, the claim is: Check all that apply

I:l Contingent
l:l Unliquldated

m Disputed
Type of NONPR|ORlTY unsecured claim:

- Student loans

m Obligations arising out of a separation agreement or divorce that you did not
report as priority claims

m Debts to pension or profit-sharing plans, and other similar debts

m Other, Specify

 

 

List others tc Be Netined About a Debt That Yeu Already Listed

5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For example, if a collection agency
is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or 2, then list the collection agency here. Similarly, if you
have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the additional creditors here. |f you do not have additional persons to be
notified for any debts in Parts 1 or 2, do not fill out or submit this page.

Name and Address
Pol|ack & Rosen

806 S.

Doug|as Road

Suite 200, South Tower

Miami,

FL 33134

On which entry in Part 1 or Part 2 did you list the original creditor?
Line g of (Check one):

|:\ Part 1: Creditors with Priority Unsecured Claims
- Part 2: Creditors with Nonpriority Unsecured Claims

Last 4 digits of account number

 

Name and Address

USAA

9800 Fredericksburg Road
San Antonio, TX 78288

On which entry in Part 1 or Part 2 did you list the original creditor?
Line g of (Check one):

m Part 1: Creditors with Priority Unsecured Claims
- Part 2: Creditors with Nonpriority Unsecured Claims

Last 4 digits of account number

 

mAdd the Amounts for Each Type of Unsecured Claim

6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. §159. Add the amounts for each
type of unsecured claim.

Total Claim
6a. Domestic support obligations 6a. $ o_oo
Total
claims
from Part 1 6b. Taxes and certain other debts you owe the government 6b, $ o_oo
6c. Claims for death or personal injury while you were intoxicated 6c. $ 0_00
6d. Other. Add all other priority unsecured claims. Write that amount here. 6d. $

Oflicia| Form 106 E/F
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Schedule ElF: Creditors Who Have Unsecured Claims

Page 2 of 3
Best Case Bankruptcy

CaS€ 8219-bk-01844-RCT

Debtor1 JODY P. LEWlS

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Case number (ifknown)

 

6e. Total Priority. Add lines 6a through 6d. 6e.

6i. Student loans 6f.
Total
claims
from Part 2 69. Obligations arising out of a separation agreement or divorce that
you did not report as priority claims 69-
6h. Debts to pension or profit-sharing plans, and other similar debts Sh.
6i. Other. Add all other nonpriority unsecured claims. Write that amount 6i.
here.
6j. Total Nonpriority. Add lines 6f through 6i. Gj.

Officia| Form 106 E/F

Schedule ElF: Creditors Who Have Unsecured Claims

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0.00

 

 

$ 0.00

 

 

Total Claim

$ 13!707.38

 

 

$ o.oo
s o.oo
$ 14,874.43
$

28,581.81

 

 

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Best Case Bankruptcy

 

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Fill in this information to identify your case:

Debtor1 JODY P. LEWlS

First Name Middle Name Last Name

Debtor 2
(Spouse if, filing) First Name Middle Name Last Name

 

United States Bankruptcy Court for the: MlDDLE DlSTR|CT OF FLORlDA

 

Case number
(ifknown) |:j Check if this is an

amended filing

 

 

 

Officiai Form 1066
Schedule G: Executory Contracts and Unexpired Leases 12/15

Be as complete and accurate as possible. lf two married people are filing together, both are equally responsible for supplying correct
information. lf more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
additional pages, write your name and case number (if known).

1. Do you have any executory contracts or unexpired |eases?
- No. Check this box and file this form with the court with your other schedules You have nothing else to report on this form.
E] Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B.'Propen‘y (Ochia| Form 106 A/B).

2. List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for
example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts
and unexpired leases

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Person or company with whom you have the contract or lease State what the contract or lease is for
Name, Number, Street, City, State and ZlP Code

2.1

Name

Number Street

City State ZlP Code
2.2

Name

Number Street

City State ZlP Code
2.3

Name

Number Street

City State ZlP Code
2.4

Name

Number Street

City State ZlP Code
2.5

Name

Number Street

City State ZlP Code

Officiai Form 106G Schedule G: Executory Contracts and Unexpired Leases Page 1 of 1

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Fill in this information to identify your case:

Debtor 1 JODY P. LEWlS

 

First Name Middle Name Last Name

Debtor 2

 

(Spouse if, filing) First Name Nliddle Name Last Name

United States Bankruptcy Court for the: MlDDLE DlSTR|CT OF FLORlDA

 

Case number
(if known)

 

 

|:| Check if this is an
amended filing

 

Officiai Form 106H
Schedule H: Your Codebtors

12l15

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. lf two married
people are filing together, both are equally responsible for supplying correct information. |f more space is needed, copy the Additionai Page,
fill it out, and number the entries in the boxes on the |eft. Attach the Additionai Page to this page. On the top of any Additionai Pages, write

your name and case number (if known). Answer every question.

1. Do you have any codebtors? (lf you are filing a joint case, do not list either spouse as a codebtor.

l No
l:l Yes

2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include
Arizona, California, ldaho, Louisiana, Nevada, New Mexico, Puerto Rioo, Texas, Washington, and Vlhsconsin.)

- No. Go to line 3.

l:l Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?

3. ln Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person shown
in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on Schedule D (Official
Form 106D), Schedule ElF (Official Form 106ElF), or Schedule G (Official Form 1066). Use Schedule D, Schedule ElF, or Schedule G to fill

out Column 2.

Column 1: Your codebtor
Name, Number, Street, City, State and ZlP Code

 

 

Column 2.' The creditor to whom you owe the debt
Check all schedules that apply:

l] Schedule D, line

 

 

 

Name m Schedule E/F, line
lIl schedule G, line

Number Street

City State ZlP Code

3-2 |Il schedule D, line

Name n Schedule E/F, line
lIl Schedule G, line

Number Street

City State ZlP Code

 

Official Form 106H
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Schedule H: Your Codebtors

Page 1 of 1

Best Case Bankruptcy

 

 

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Fill in this information to ldentif

Debtor 1 JODY P. LEWlS

 

Debtor 2
(Spouse, if filing)

 

United States Bankruptcy Court for the: MlDDLE DlSTR|CT OF FLORlDA

 

Case number Check if this is:
m k"°‘”“) l:l An amended filing

l:l A supplement showing postpetition chapter
13 income as of the following date:

OfflClal Form 106| m
Schedule l: Your lncome 12115

 

 

 

 

Be as complete and accurate as possible. lf two married people are filing together (Debtor1 and Debtor 2), both are equally responsible for
supplying correct information. lf you are married and not filing joint|y, and your spouse is living with you, include information about your
spouse. lf you are separated and your spouse is not filing with you, do not include information about your spouse. lf more space is needed,
attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

Describe Employment

1. Fillinyouremployment ' , ' y __ ,
information Debtor1 ,~ - . v a ~ ~ DebtorZornon-flling spouse '

 

|f you have more than one job, - Employed l:l Employed
attach a separate page with Employment Sfaf'-l$ L__| N ‘
information about additional n NOt employed °t emp °yed
employers

Deve|opment Review
include part-time, seasona|, or O°c“pat'°n Technician
self-employed work.

Board of County
Occupation may include student Employer‘s name Commissioners

 

or homemaker, if it applies.

Employer‘s address Pasco County
P.O. Box 1554
Dade City, FL 33526

How long employed there? 1 year 2 months

 

Give Details About Monthly lncome

Estimate monthly income as of the date you file this form. |f you have nothing to report for any line, write $0 in the space. lnclude your non-ming
spouse unless you are separated

|f you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. lf you need
more space, attach a separate sheet to this form.

For Debtor1 ` ~For Debtor2 or ,
' . " ~ ~ non-filing spouse '

List monthly gross wages, salary, and commissions (before all payroll

 

 

 

2- deductions). lf not paid monthly, calculate what the monthly wage would be. 2- $ 2,198-21 $ NlA
3. Estimate and list monthly overtime pay. 3. +$ 0.00 +$ NlA
4. Calcu|ate gross lncome. Add line 2 + line 3. 4. $ 2,198.21 $ NlA

 

 

 

 

 

Officiai Form 1061 Schedule I: Your Income page l

 

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Debtor1 JQDY P_ LEW|S Case number (ifknown)
For Debtor 1 ` ' For Debtor 2 or '
~ ` non-filing spouse
Copy line 4 here 4- $ 2,198.21 N/A
5. List all payroll deductions:
5a. Tax, Medicare, and Social Security deductions 5a. $ 0.00 $ NlA
5b. Mandatory contributions for retirement plans 5b. $ 0_00 $ NlA
5c. Voluntary contributions for retirement plans 5c. $ 0.00 $ NlA
5d. Required repayments of retirement fund loans 5d. $ 0_00 $ NlA
5e. insurance 56. $ 0.00 $ NlA
5f. Domestic support obligations 5f. $ 0.00 $ NlA
59. Union dues 59- $ 0.00 $ NIA
5h. Other deductions. Specify: 5h.+ $ 0.00 + $ NlA
Add the payroll deductions. Add lines Sa+5b+50+5d+5e+5f+5g+5h. 6. $ 0_00 $ NlA
Calcu|ate total monthly take-home pay. Subtract line 6 from line 4. 7. $ 2,198.21 $ N/A
List all other income regularly received:
8a. Net income from rental property and from operating a business,
profession, or farm
Attach a statement for each property and business showing gross
receipts, ordinary and necessary business expenses, and the total
monthly net income. 88. $ 0.00 $ N/A
8b. interest and dividends 8b. $ 0.00 $ NlA
8c. Family support payments that you, a non-filing spouse, or a dependent
regularly receive
include alimony, spousal support, child support, maintenance, divorce
settlement and property settlement 8c. $ 0.00 $ NlA
8d. Unemployment compensation 8d. $ 0.00 $ NlA
8e. Social Security 86. $ 0.00 $ NlA
8f. Other government assistance that you regularly receive
lnclude cash assistance and the value (if known) of any non-cash assistance
that you receive, such as food stamps (benelits under the Supp|emental
Nutrition Assistance Program) or housing subsidies
Specify: 8f. $ 0.00 $ N/A
89. Pension or retirement income 8g. $ 0.00 $ NlA
8h. Other monthly income. Specify: 8h. $ 0.00 + $ NlA
9. Add all other income. Add lines 83+8b+80+8d+8e+8f+89+8h. 9. $ 0_00 $ N/A
10. Calcu|ate monthly income. Add line 7 + line 9. 10. $ 2,198.21 + $ NlA = $ 2,198.21 §
Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse. l
1 1. State all other regular contributions to the expenses that you list in Schedule J.
include contributions from an unmarried partner, members of your househo|d, your dependents, your roommates, and
other friends or relatives
Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
Specify: 11. +$ __OM
12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
Write that amount on the Summary of Schedu/es and Statistical Summary of Certain Liabilities and Related Data, if it
applies $ Ml.
Combined
monthly income
13. Do you expect an increase or decrease within the year after you file this form?
l No.
|:| Yes. Explain: l _l
Officiai Form 106I Schedule I: Your Income page 2

 

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Fill in this information to identify your case:

 

 

 

Debtor1 JODY p_ LEWlS Check if this is:

[:| An amended filing
Debtor 2 l:] A supplement showing postpetition chapter
(Spouse, if filing) 13 expenses as of the following date:
United States Bankruptcy Court for the: MlDDLE DlSTR|CT OF FLORlDA MM / DD / YYYY

 

Case number
(|f known)

 

 

 

Officiai Form 106J
Schedule J: Your Expenses 12/15

 

 

Be as complete and accurate as possible. lf two married people are filing together, both are equally responsible for supplying correct
information. lf more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

Describe Your Household

 

1. ls this a joint case?

l No. Go to line 2.
l:l Yes. Does Debtor 2 live in a separate household?

El No
l:l Yes. Debtor 2 must file Officiai Form 106J-2, Expenses for Separate Household of Debtor 2.

2. Do you have dependents? l NQ

 

 

 

 

Do not list Debtor 1 and |] Yes_ Fill out this information for Dependent’s relationship to Dependent’s Does dependent
Debtor 2_ each dependent .............. Debtor1 or Debtor 2 age live with you?
m m w

Do not state the l:l No
dependents names. l'_'| Yes

l:l No

El Yes

l:l No

El Yes

l;i No

l:l Ves

3. Do your expenses include - No

expenses of people other than m

yourself and your dependents? Yes

Estimate Your Ongoing Monthly Expenses
Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. lf this is a supplemental Schedule J, check the box at the top of the form and fill iri the
applicable date.

include expenses paid for with non-cash government assistance if you know
the value of such assistance and have included it on Schedule I: Your Income ' , j
(Official Form 106|.) » » ` 1 Your expenses

4. The rental or home ownership expenses for your residence. include first mortgage
payments and any rent for the ground or lot. 4- $ 697-05

 

lf not included in line 4:

 

 

 

 

4a. Real estate taxes 43- $ 0.00
4b. Property, homeowner’s, or renter’s insurance 4b. $ 0_00
4c. Home maintenance, repalr, and upkeep expenses 4c. $ 0_00
4d. Homeowner’s association or condominium dues 4d. $ 0_00
5. Additionai mortgage payments for your residence, such as home equity loans 5. $ 0_00

 

Officiai Form 106J Schedule J: Your Expenses page 1

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Debtor1 JODY P. LEWlS

6.

16.

17.

18.
19.

20.

21.
22.

23.

24.

Officiai Form 106J

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Case number (if known)

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Uti|ities:

6a. Electricity, heat, natural gas 63. $ 120.00
6b. Water, sewer, garbage collection 6b. $ 35.00
6c. Telephone, cell phone, internet, satellite, and cable services 60. $ 69_00
6d. Other. Specify: |nternet 6d. $ 70.00
Food and housekeeping supplies 7. $ 250.00
Childcare and children’s education costs 8. $ 0.00
Clothing, Iaundry, and dry cleaning 9. $ 100.00
Persona| care products and services 10. $ 100.00
Medical and dental expenses 11. $ 0.00
Tr ns orta i n. lnclu e as, m intenanoe, bus or train fare.

Doanotpinc|u:l; car pay‘lnesnts. a 12~ $ 120'00
Entertainment, clubs, recreation, newspapers, magazines, and books 13. $ 100,00
Charitable contributions and religious donations 14. $ 20.00
lnsurance.

Do not include insurance deducted from your pay or included in lines 4 or 20.

15a Life insurance 158. $ 0.00
15b. Health insurance 15b. $ 0.00
15c. Vehicle insurance 15c. $ 108.00
15d. Other insurance. Specify: 15d. $ 0.00
Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.

Specify: 16. $ 0.00
installment or lease payments:

17a. Car payments for Vehicle 1 17a. $ 368.56
17b. Car payments for Vehicle 2 17b. $ 0.00
17c. Other. Specify: 17c. $ 0.00
17d. Other. Specify: t 17d. $ 0.00
Your payments of alimony, maintenance, and support that you did not report as

deducted from your pay on line 5, Schedule I, Your Income (Official Form 106|). 18~ $ o'oo
Other payments you make to support others who do not live with you. $ 0.00
Specify: 19.

Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.

20a Mortgages on other property 20a. $ 0.00
20b. Real estate taxes 20b. $ 0.00
20e. Property, homeowner’s, or renter’s insurance 200. $ 0_00
20d. Maintenance, repair, and upkeep expenses 20d. $ 0.00
20e. Homeowner’s association or condominium dues 20e. $ 0_00
Other: Specify: 21 . +$ 0.00
Calcu|ate your monthly expenses

22a. Add lines 4 through 21. $ 2,157.61
22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Officiai Form 106J-2 $

22<:. Add line 22a and 22b. The result is your monthly expenses. $ 2,157.61
Calcu|ate your monthly net income.

23a Copy line 12 (your combined monthly income) from Schedule l. 23a $ 2,198.21
23b. Copy your monthly expenses from line 22c above. 23b. -$ 2,157_61
23c. Subtract your monthly expenses from your monthly income. 23€_ $ 40_6°

The result is your monthly net income.

Do you expect an increase or decrease in your expenses within the year after you file this form?
For example, do you expect to finish paying for your car loan within the year or do you expect your mortgage payment to increase or decrease because of a

modihcation to the terms of your mortgage?

l No.

 

 

 

 

L__l Yes. l Expiain here:

 

Schedule J: Your Expenses

page 2

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Fill in this information to identify your case:
Debtor1 JODY P. LEWlS
First Name Middle Name Last Name

Debtor 2
(Spouse if, filing) First Name Middle Name Last Name

 

United States Bankruptcy Court for the: MlDDLE DlSTR|CT OF FLORlDA

Case number
(if known) |:] Check if this is an

amended filing

 

 

 

Officiai Form 106Dec
Declaration About an lndividual Debtor's Schedules 12/15

lf two married people are filing together, both are equally responsible for supplying correct information.
You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or

obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

- Sign Below

Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

 

|:|No

l Yes. Name of person Carlos Frontela Attach Bankruptcy Petition Preparer’s Notice,
Declaration, and Signature (Official Form 1 19)

 

Under penalty of perjury, l declare that l have read the summary and schedules filed with this declaration and
that they are true and correct.

 

 

 

 

_\
X jfk am x
JODY P. LEWlS / w Signature of Debtor 2
Signature of Debtor 1
Date March 2, 2019 Date
Ochia| Form 1060ec Declaration About an lndividual Debtor's Schedules

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Fill in this information to identify your case:

Debtor 1 JODY P. LEWlS

First Name Middle Name Last Name

 

Debtor 2
(Spouse if, filing) First Name Middle Name Last Name

 

United States Bankruptcy Court for the: MlDDLE DlSTR|CT OF FLORlDA

 

Case number
(ifknown) |:| Check if this is an
amended filing

 

 

 

Officiai Form 107
Statement of Financial Affairs for individuals Filing for Bankruptcy 4/16

 

Be as complete and accurate as possible. |f two married people are filing together, both are equally responsible for supplying correct
information. lf more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

Give Detai|s About Your Marital Status and Where You Lived Before

1. What is your current marital status?

l:l Married
l Not married

2. During the last 3 years, have you lived anywhere other than where you live now?

l No

l:l Yes. List all of the places you lived in the last 3 years. Do not include where you live now.

Debtor 1 Prior Address: Dates Debtor 1 Debtor 2 Prior Address: Dates Debtor 2
lived there lived there

3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community property
states and territories include Arizona, California, ldaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington and Wisconsin.)

- No
L__l Yes. Make sure you till out Schedule H: Your Codebtors (Official Form 106H).

-Explain the Sources of Your income

4. Did you have any income from employment or from operating a business during this year or the two previous calendar years?
Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
lf you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.
l:l No
l Yes. Fm in the details

 

Debtor 1 Debtor 2
Sources of income Gross income Sources of income Gross income
Check all that apply. (before deductions and Check all that apply. (before deductions
exclusions) and exclusions)
From January_1 of current year until - Wages, Commis$ions’ $4,884.82 l:l Wages, commissions,
the date you filed for bankruptcy: bonuses, tips bonuses' tips
|:| Operating a business L__l Operating a business
Officiai Form 107 Statement of Financial Affairs for individuals Filing for Bankruptcy page 1

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Debtor1 JODY P_ LEW|S Case number (ifknown)
Debtor 1 Debtor 2
Sources of income Gross income Sources of income Gross income
Check all that apply. (before deductions and Check all that apply. (before deductions
exclusions) and exclusions)
For last calendar year: - Wa es 0unmnisslibns $28,494.00 |:l Wages, commissions,
(January 1 to December 31, 2018 ) bonusegs’ tips bonuses tips
|___| Operating a business \:I Operating a business
For the calendar year before that: - Wa es Commissiens $20,368.00 l:l Wages, commissions,
(January 1 to December 31, 2017 ) bonusegs, tips bonusesy tips
ij Operating a business l:l Operating a business

 

5. Did you receive any other income during this year or the two previous calendar years?
lnclude income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security, unemployment
and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and gambling and lottery
winnings. lf you are Hling a joint case and you have income that you received together, list it only once under Debtor 1.

List each source and the gross income from each source separately. Do not include income that you listed in line 4.

-No

El Yes. Fill in the details

Debtor 1 Debtor 2

Sources of income Gross income from Sources of income Gross income

Describe below. each source Describe below. (before deductions
(before deductions and and exclusions)
exclusions)

List Certain Payments You Made Before You Filed for Bankruptcy

6. Are either Debtor 1’s or Debtor 2’s debts primarily consumer debts?

 

l:l No. Neither Debtor1 nor Debtor 2 has primarily consumer debts. Consumer debts are denned in 11 U.S.C. § 101 (8) as “incurred by an
individual primarily for a personal, family, or household purpose.”
During the 90 days before you E|ed for bankruptcy, did you pay any creditor a total of $6,425* or more?

m No. Go to line 7.

m Yes List below each creditor to whom you paid a total of $6,425* or more in one or more payments and the total amount you
paid that creditor. Do not include payments for domestic support obligations, such as child support and alimony. A|so, do
not include payments to an attorney for this bankruptcy case.

* Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment

- Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.
During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

E| No. Go to line 7_

l Yes List below each creditor to whom you paid a total of $600 or more and the total amount you paid that creditor. Do not
include payments for domestic support obligations, such as child support and alimony. A|so, do not include payments to an
attorney for this bankruptcy case.

Creditor's Name and Address Dates of payment Total amount Amount you Was this payment for
paid still owe
GM Financial Monthly $368.56 $6,634.00 |:l lvlortgage
P.O. Box 78143 - Car
Phoenlx, AZ 85062-8143 i:| Credit Card
|:l Loan Repayment
l:l Suppliers or vendors
I:l Other,_
Officiai Form 107 Statement of Financial Affairs for individuals Filing for Bankruptcy page 2

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Debtor1 JODY P_ LEW|S Case number (ifknown)

 

7. Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner; corporations
of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing agent, including one for
a business you operate as a sole proprietor. 11 U.S.C. § 101. lnclude payments for domestic support obligations, such as child support and

alimony.

- No

L__l Yes. List all payments to an insider.

lnsider's Name and Address Dates of payment Total amount Amount you Reason for this payment
paid still owe

8. Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited an

insider?

lnclude payments on debts guaranteed or cosigned by an insider.

l No

l:\ Yes. List all payments to an insider

lnsider‘s Name and Address Dates of payment Total amount Amount you Reason for this payment
paid still owe lnclude creditor's name

identify Legal Actions, Repossessions, and Foreclosures

9. Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?

List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody
modifications and contract disputes

n No
l Yes. Fill in the details

Case title Nature of the case Court or agency Status of the case
Case number

Capital One Bank Civi| Case Hi|lsborough County Court El Pending

vs. 800 East Twiggs Street |:| On appeal
Jody P. Lewis Tampa, FL 33602 l
2018$c004219 C°"°'“ded

 

10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?

Check all that apply and Hll in the details below.

l No.Gotoline11.
l:l Yes. Fill in the information below.

Creditor Name and Address Describe the Property Date Value of the

Property
Expiain what happened

11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
accounts or refuse to make a payment because you owed a debt?

- No
l:] Yes, Fill in the details.

Creditor Name and Address Describe the action the creditor took Date action was Amount
taken
12. Vihthin 1 year before you f"lled for bankruptcy, was any of your property in the possession of an assignee for the benefit of creditors, a
court-appointed receiver, a custodian, or another official?
- No
El Yes
Officiai Form 107 Statement of Financial Affairs for individuals Filing for Bankruptcy page 3

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Debtor1 JQDY P_ LEW|S Case number (ifknown)

 

List Certain Gifts and Contributions

13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?
- No

l:l Yes. Fill in the details for each gift.

Gifts with a total value of more than $600 Describe the gifts

Dates you gave Value
per person

the gifts

Person to Whom You Gave the Gift and
Address:

14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?
- No

ij Yes. Fill in the details for each gift or contribution.

Gifts or contributions to charities that total Describe what you contributed Dates you Value
more than $600

contributed
Charity's Name
Address (Number, street, city, state and zlP code)

List certain l v

15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other disaster,

or gambling?
l No
L'_l Yes. Fill in the details

Describe the property you lost and

Describe any insurance coverage for the loss Date of your Value of property
how the loss occurred

include the amount that insurance has paid. List pending loss lost
insurance claims on line 33 of Schedule A/B: Property.

List Certain Payments or Transfers

16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone you
consulted about seeking bankruptcy or preparing a bankruptcy petition?

include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.
l:l No
l Yes. Fill in the details

Person Who Was Paid Description and value of any property Date payment

Amount of
Address transferred or transfer was payment
Email or website address made
Person Who Made the Payment, if Not You
Document Preparation Services, LLC 2l22l2019 $200.00
4107 N. Himes Avenue

Tampa, FL 33607

17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
promised to help you deal with your creditors or to make payments to your creditors?
Do not include any payment or transfer that you listed on line 16.

l No
El Yes. Fill in the details
Person Who Was Paid

Description and value of any property Date payment Amount of
Address transferred or transfer was ~ payment
made
Officiai Form 107 Statement of Financiai Affairs for individuals Filing for Bankruptcy page 4

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Debtor 1 JODY P. LEWlS Case number (ifknown)

 

 

18. Within 2 years before you filed for bankruptcy, did you seii, trade, or otherwise transfer any property to anyone, other than property
transferred in the ordinary course of your business or financial affairs?
include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property). Do not
include gifts and transfers that you have already listed on this statement

- No

iii Yes. Fill in the detailsl

Person Who Received Transfer Description and value of Describe any property or Date transfer was
Address property transferred payments received or debts made

paid in exchange
Person‘s relationship to you

19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trustor similar device of which you are a
beneficiary? (These are often called asset-protection devices.)

- No
l:l Yes. Fill in the details.
Name of trust Description and value of the property transferred Date Transfer was

made

-ist of Certain Financial Accounts, instruments, Safe Deposit Boxes, and Storage Units

20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit, ciosed,
sold, moved, or transferred?
include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions, brokerage
houses, pension funds, cooperatives, associations, and other financial institutions.

l No
lZl Yes. Fill in the details

Name of Financial institution and Last 4 digits of Type of account or Date account was Last balance
Address (Number, street, city, state and zlP account number instrument closed, sold, before closing or
C°d°i moved, or transfer

transferred

21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for securities,
cash, or other valuables?

. No
Ei ves. Fill in the detaile.

Name of Financiai institution Who else had access to it? Describe the contents Do you still
Address (Number, stieet, city, state and zlP code) Address (Number, street city, have it?

State and ZlP Code)

22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?

l No
lIl Yes. Fill in the details
Name of Storage Faciiity Who else has or had access Describe the contents Do you still
Address (Number, street, city, state and zlP code) to it? have it?
Address (Number, Street, City,
state and zip cede)

mdentify Property You Hold or Controi for Someone Eise

23. Do you hold or control any property that someone else owns? include any property you borrowed from, are storing for, or hold in trust

for someone.

. No

l'_'l ves. Fill in the details.
Owner's Name Where is the property? Describe the property Value
Add ress (Number, street, city, state and zlP code) (N"mb°"t S"°**» Cify» State and Z'P

Code)
Give Detaiis About Environmental information

For the purpose ofPart10, the following definitions apply:

l Environmental law means any federai, state, or local statute or regulation concerning poiiution, contamination, releases of hazardous or
Officiai Form 107 Statement of Financiai Affairs for individuals Filing for Bankruptcy page 5

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Debtor1 JODY P. LEWlS Case number (ifknown)

 

 

toxic substances, wastes, or material into the air, iand, soii, surface water, groundwater, or other medium, including statutes or
regulations controlling the cleanup of these substances, wastes, or materiai.

- Site means any iocation, facility, or property as defined under any environmental iaw, whether you now own, operate, or utilize it or used
to own, operate, or utilize it, including disposal sites.

Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic substance,
hazardous materiai, poi|utant, contaminant, or similar term.

Report ali notices, reieases, and proceedings that you know about, regardless of when they occurred.

24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental |aw?

- No
El Yes. Fill in the details

Name of site Governmentai unit Environmentai |aw, if you Date of notice
Address (Number, street, city, state and zlP cede) Address (Number, street city, state and know it

ZlP Code)

25. Have you notified any governmental unit of any release of hazardous materia|?

- No

n Yes. Fill in the details.
Name of site Governmentai unit Environmentai |aw, if you Date of notice
Address (Number, street, city, state and zlP cede) Address (Number, street city, state and know it

ZlP Code)

26. Have you been a party in any judicial or administrative proceeding under any environmental |aw? include settlements and orders.

. No
Ei Yes. Fill in the details.
Case Tit|e Court or agency Nature of the case Status of the
Case Number Name case
Address (Numher, street city,
State and ZlP Code)

_Give Detaiis About Your Business or Connections to Any Business
27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?
n A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time
l:l A member of a limited liability company (LLC) or limited liability partnership (LLP)
El A partner in a partnership
n An officer, director, or managing executive of a corporation
l:l An owner of at least 5% of the voting or equity securities of a corporation
l No. None of the above applies. Go to Part 12.
El Yes. Check ali that apply above and fill in the details below for each business.

Business Name Describe the nature of the business Employer identification number
Address Do not include Social Security number or |TlN.
lN“mbe'- 5"°§*- Cth State and Z'P C°dei Name of accountant or bookkeeper

Dates business existed

28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? include all financial
institutions, creditors, or other parties.

- No
Ei Yes. Fill in the details below.

Name Date issued
Address
(Number, Street, City, State and ZiP Code)

Part 12: Sign Beiow

| have read the answers on this Statement of Financial Affairs and any attachments, and i declare under penalty of perjury that the answers
Ochiai Form 107 Statement of Financiai Affairs for individuals Filing for Bankruptcy page 6

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Debtor 1 JODY P_ LEW|S Case number (ifknown)

 

 

are true and correct. i understand that making a false statement, concealing property, or obtaining money or property by fraud in connection
with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
18 U.S.C. §§ 152, 1341, 1519, and 3571.

'\`

 

 

Signature of Debtor 2
Signature of ebtor 1

Date March 2, 2019 Date

 

 

Did you attach additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?
l No

m Yes

Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?

i:l No
- Yes. Name of Person Carlos Frontela . Attach the Bankruptcy Petition Preparer's Notice, Declaration, and Signature (Official Form 119).

Officiai Form 107 Statement of Financiai Affairs for individuals Filing for Bankruptcy page 7

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Fill in this information to identify your case:

 

 

 

Debtor1 JODY P. LEWlS

First Name Middle Name Last Name
Debtor 2
(Spouse if, filing) First Name Middle Name Last Name

United States Bankruptcy Court for the: MlDDLE DiSTRlCT OF FLORlDA

 

Case number
(if known) jj Check if this is an

amended filing

 

 

Officiai Form 108
Statement of intention for individuals Filing Under Chapter 7 12/15

if you are an individual filing under chapter 7, you must fill out this form if:
- creditors have claims secured by your property, or

- you have leased personal property and the lease has not expired.

You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditors,
whichever is earlier, unless the court extends the time for cause. You must also send copies to the creditors and lessors you list
on the form

if two married people are filing together in a joint case, both are equally responsible for supplying correct information. Both debtors must
sign and date the form.

Be as complete and accurate as possible. if more space is needed, attach a separate sheet to this fonn. On the top of any additional pages,
write your name and case number (if known).

List Your Creditors Who Have Secured Claims

1. For any creditors that you listed in Part 1 of Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D), fill in the
information below.

 

 

 

 

identify the creditor and the property that is collateral y l What do you,_intend to do with the property that * Did»you,claim the property
secures a`debt? ` » , as exempt on Schedule C?
CredifOF'S First Federai Bank [:l Surrender the property. l:l No
name: ij Retain the property and redeem it.
, , - Retain the ro e and enter into a - Yes
DeSCi'leiOn Of 8339 Angela Court Tampa, FL Ream”natE-;nagrtr;emem_
Property 33625 H'"sb°r°ugh County Ei Retain the property and [expiain]:
securing debt:
CredifOr`S GM Financial l:| Surrender the property. l:l No
nam€! l'_`l Retain the property and redeem it.
. . - Retain the property and enter into a - Yes
Descnpt'°n of 2017 Chevy Cruze Reafi‘irmation Agreement.
Property L°cat'°n_: 8339 Angela C°urt’ L_.l Retain the property and [expiain]:
Securing debt Zephyrhiils FL 33541
Vehicle is a leased vehicle.
Amount owed is the remaining
balance on the lease
CredifOf'S Greensky l:i Surrender the property. m No
Officiai Form 108 Statement of intention for individuals Filing Under Chapter 7 page 1

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Debtor1 JODV P. LEWlS Case number (ifknown)

 

 

name: l:l Retain the property and redeem it. l yes
. . _ _ l Retain the property and enter into a
DeSCrlelOn Of Loan to repair water main Ream-nnat,~on Agreement_

Property n Retain the property and [expiain]:
securing debt:

 

 

List Your Unexpired Persona| Property Leases

For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Official Form 1066), fill
in the information below. Do not list real estate |eases. Unexpired leases are leases that are still in effect; the lease period has not yet ended.
You may assume an unexpired personal property lease if the trustee does not assume it. 11 U.S.C. § 365(p)(2).

Describe your unexpired personal property leases ` ' ` a ` ~ a l ' ~ ' Wiii the lease beassumed?
Lessor's name: |:i No
Description of leased

Property: i:i Yes
Lessor's name: i:i No
Description of leased

Property: Ei Yes
Lessor's name: i:i No
Description of leased

Property: I:i Yes
Lessor's name: |:l No
Description of leased

Property: I:l Yes
Lessor's name: i:l No
Description of leased

Property: |Ii Yes
Lessor's name: l:i No
Description of leased

Property: ij Yes
Lessor's name: l:i No
Description of leased

Property: i:i Yes

Sign Below

Under penalty of perjury, l declare that l have indicated my intention about any property of my estate that secures a debt and any personal
property that is subject to an unexpired lease.

 

 

 

 

c~
X /M X
JOD P. L iS y Signature of Debtor 2
Signature of Debtor 1
Date March 2, 2019 Date
Ofncia| Form 108 Statement of intention for individuals Filing Under Chapter 7 page 2

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Fill in this information to identify your case:

Debtor 1 JODY P. LEWlS

Debtor 2
(Spouse, if filing)

Check one box cnly as directed in this form and in Fc."m

122A-1Supp:

 

 

- 1. There is no presumption of abuse

 

. . . . i:l 2. The calculation to determine if a presumption of abuse
Mlddle D'Stnct of F|o"da applies will be made under Chapter 7 Means Test
Calculation (Official Form 122A-2),

United States Bankruptcy Court for the:

 

Case number
(if Known)

 

i:i 3. The Means Test does not apply now because of
qualified military service but it could apply later.

 

 

E| Check if this is an amended filing
Officiai Form 122A - 1
Chapter 7 Statement of Your Current Monthly income 12/15

 

 

Be as complete and accurate as possible. if two married people are filing together, both are equally responsible for being accurate. lf more space is needed,
attach a separate sheet to this form. include the line number to which the additional information applies. On the top of any additional pages, write your name and
case number (if known). if you believe that you are exempted from a presumption of abuse because you do not have primarily consumer debts or because of
qualifying military service, complete and file Statement of Exemption from Fresumption of Abuse Under§ 707(b)(2) (Official Form 122A-1Supp) with this form.

Calcu|ate Your Current Monthly income

 

1. What is your marital and filing status? Check one only.
. Not married. Fill out Column A, lines 2-11.
l:i Married and your spouse is filing with you. Fill out both Columns A and B, lines 2-11.
i:l Married and your spouse is NOT filing with you. You and your spouse are:
\:i Living in the same household and are not legally separated. Fill out both Columns A and B, lines 2-11.

i:i Living separately or are legally separated. Fill out Column A, lines 2-11; do not ill out Column B. By checking this box, you declare under
penalty of perjury that you and your spouse are legally separated under nonbankruptcy law that applies or that you and your spouse are
living apart for reasons that do not include evading the Means Test requirements 11 U.S.C § 707(b)(7)(B).

Fill in the average monthly income that you received from ali sources, derived during the 6 full months before you tile this bankruptcy case. 11 U.S.C. §

101 (10A). For example, if you are hling on September 15, the 6-month period would be March 1 through August 31. if the amount of your monthly income varied during
the 6 months, add the income for ali 6 months and divide the total by 6. Fill in the result Do not include any income amount more than once. For example, if both
spouses own the same rental property, put the income from that property in one column only. if you have nothing to report for any line, write $0 in the space

 

Column A Column B
Debtor 1 Debtor 2 or
non-filing spouse
2. Your gross wages, salary, tips, bonuses, overtime, and commissions (before all

 

payroll deductions). $ 2,198.21 $
3. Alimony and maintenance payments. Do not include payments from a spouse if
Column B is filled in. $ 0.00 $

 

4. Ail amounts from any source which are regularly paid for household expenses
of you or your dependents, including child support. include regular contributions
from an unmarried partner, members of your household, your dependents, parents,
and roommates. include regular contributions from a spouse only if Column B is not
filled in. Do not include payments you listed on line 3. o'oo $

5. Net income from operating a business, profession, or farm

 

 

 

 

 

 

Debtor 1
Gross receipts (before all deductions) $ 0-00
Ordinary and necessary operating expenses -$ 0.00
Net monthly income from a business, profession, or farm $ 0-00 C°Py here '> $ 0-00 $
6. Net income from rental and other real property
Debtor 1
Gross receipts (before all deductions) $ 0.00
Ordinary and necessary operating expenses '$ 0-00
Net monthly income from rental or other real property $ 0-00 C°Py here -> $ 0.00 $
7. lnterest, dividends, and royalties $ 0-00 $
thcial Form 122A-1 Chapter 7 Statement of Your Current Monthly income page 1

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Debtor1 JODY P_ LEWlS Case number (ifknown)

 

 

Column A
Debtor 1

8. Unemployment compensation $

0.00

Column B

Debtor 2 or
non-filing spouse

$

 

Do not enter the amount if you contend that the amount received was a benefit under
the Social Security Act. lnstead, list it here:

For you $ 0_00
For your spouse $

9. Pension or retirement income. Do not include any amount received that was a
benefit under the Social Security Act.

 

0.00

 

10. income from all other sources not listed above. Specify the source and amount.
Do not include any benefits received under the Social Security Act or payments
received as a victim of a war crime, a crime against humanity, or international or
domestic terrorism. if necessary, list other sources on a separate page and put the
total below.

0.00

 

0.00

 

$%'$

Total amounts from separate pages, if any. +

0.00

 

 

11. Calcu|ate your total current monthly income. Add lines 2 through 10 for
each column. Then add the total for Column A to the total for Column B. $ 2,198‘21

$ 2,198.21

 

 

 

 

 

 

 

 

Determine Whether the Means Test App|ies to You

Total current monthly
income

 

12. Calcu|ate your current monthly income for the year. Follow these steps:

 

Niultiply by 12 (the number of months in a year)

12b. The result is your annual income for this part of the form

13. Calcu|ate the median family income that applies to you. Foliow these steps:

Fill in the state in which you live.
Fill in the number of people in your household. §

Fill in the median family income for your state and size of household.

 

for this form. This list may also be available at the bankruptcy clerk’s ofnce.

14. How do the lines compare?

Go to Part 3.

Go to Part 3 and fill out Form 122A-2.

m Sign Below

12a. Copy your total current monthly income from line 11 Copy line 11 here=>

12b.

13.

To find a list of applicable median income amounts, go online using the link specified in the separate instructions

14a. - Line 12b is less than or equal to line 13. On the top of page 1, check box 1, There is no presumption ofabuse.

14b. |:i Line 12b is more than line 13. On the top of page 1, check box 2, The presumption of abuse is determined by Form 122A-2.

 

$

22198.21

 

x 12
$ 26,378.52

 

 

 

 

 

$ 48,000.00

 

 

 

 

,,. x
x %ée;z/@
JoDv/P. LEWis
Signature of Debtor 1

Date March 2, 2019
MM/ DD /YYYY

if you checked line 14a, do NOT nil out or Hle Form 122A-2.
if you checked line 14b, fill out Form 122A-2 and tile it with this form.

 

 

By signing here, l declare under penalty of perjury that the information on this statement and in any attachments is true and correct

 

 

Officiai Form 122A-1 Chapter 7 Statement of Your Current Monthly income
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page 2
Best Case Bankruptcy

 

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United States Bankruptcy Court
Middle District of Florida

In re JODY P. LEWlS Case No.

 

 

Debtor(s) Chapter 7

 

VERIFICATION OF CREDITOR MATRIX

The above-named Debtor hereby verifies that the attached list of creditors is true and correct to the best of his/her knowledge

‘ \
Date; March 2, 2019 ` %¢;:;M/;_

JODY P. géwls /
Signature of Debtor

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CaS€ 8219-bk-01844-RCT

JODY P. LEWlS
8339 Angela Court
Zephyrhiils, FL 33541

A||tran Financial
P.O. Box 610
Sauk Rapids, lV|N 56379

Capital One Bank
P.O. Box 30281
Salt Lake City, UT 84130

First Federal Bank
P.O. Box 8068
Virginia Beach, VA 23450

GM Financial
P.O. Box 78143
Phoenix, AZ 85062-8143

Greensky
P.O. Box 29429
Atlanta, GA 30359

Pol|ack & Rosen

806 S. Doug|as Road
Suite 200, South Tower
Miami, FL 33134

US Department of Education
P.O. BOx 7859
Madison, Wl 53704

USAA
9800 Fredericksburg Road
San Antonio, TX 78288

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